              Case 3:21-cv-01291-VC Document 61-1 Filed 10/03/22 Page 1 of 3




     Matthew E. Lee
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6
7    [ADDITIONAL COUNSEL LISTED ON SIGNATURE PAGE]

8    Counsel for Plaintiff

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10
                                 UNITED STATES DISTRICT COURT
11                              NORTHERN DISTRICT OF CALIFORNIA
12
13      NELLY LEONG                          )   Case No. 3:21-cv-01291-VC
14                                           )
15                                               DECLARATION OF MATTHEW E.
                             Plaintiff,      )   LEE IN SUPPORT OF PLAINTIFF’S
16      v.                                   )   ADMINISTRATIVE MOTION TO
                                                 SEAL
17                                           )
18      INTERNATIONAL BUSINESS                   Honorable Vince Chhabria
        MACHINES CORPORATION,                )
19                                               Date:      November 10, 2022
                                             )
                                                 Time:      10:00 a.m.
20                                               Courtroom: 5
                             Defendant.      )
21
                                             )
22                                               Complaint Filed:   February 23, 2021
                                             )
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      DECLARATION OF MATTHEW E. LEE IN SUPPORT OF
      PLAINTIFF’S ADMINISTRATIVE MOTION TO SEAL                          3:21-cv-01291-VC
                 Case 3:21-cv-01291-VC Document 61-1 Filed 10/03/22 Page 2 of 3




1         Declaration of Matthew E. Lee in Support of Motion for Leave to File Under Seal
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     I, Matthew E. Lee, declare:
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4           1.       I have personal knowledge of the facts set forth below, and if called as a witness,

5    can competently testify to them. I am a partner at Milberg Coleman Bryson Phillips Grossman
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     PLLC, counsel for Plaintiff Nelly Leong, in this matter. I submit this declaration in support of
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     Plaintiff’s Administrative Motion for Leave to File Under Seal.
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            2.       The Parties reached a settlement of this matter at a mediation on July 15, 2022. The
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10   terms of that settlement were reduced to a settlement agreement. By its own terms, the entire

11   settlement agreement is confidential, and the Parties desire to keep it confidential.
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            3.       After IBM breached its obligations, counsel for the Parties exchanged various
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     emails related to that breach. In those emails, we discussed confidential terms of the settlement
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     agreement.
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16          4.       In connection with her motion to enforce the terms of the settlement, Plaintiff finds

17   it necessary to share certain of the confidential terms with the Court. Plaintiff has undertaken
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     efforts to seal the information that she is obligated to keep confidential under the terms of the
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     settlement agreement, to avoid being in violation of the terms of the settlement agreement herself.
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            5.       In order to also comply with this Court’s local rules and the law, she has also
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22   undertaken efforts to narrowly tailor the information that she is seeking to file under seal.

23          6.       However, in addition to desiring to avoid breaching the settlement agreement’s
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     obligations herself, Plaintiff submits good cause exists to seal the settlement agreement, related
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     discussions about its terms, and recitation of certain terms in her motion because disclosure of
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     these confidential terms could harm IBM. Specifically, Plaintiff understands that disclosure of the
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      DECLARATION OF MATTHEW E. LEE IN SUPPORT OF
      PLAINTIFF’S ADMINISTRATIVE MOTION TO SEAL                                      3:21-cv-01291-VC
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                 Case 3:21-cv-01291-VC Document 61-1 Filed 10/03/22 Page 3 of 3




     confidential terms of her settlement could cause certain terms to be leveraged against IBM in an
1
2    unfair manner in other litigation currently pending or that may be filed in the future. Plaintiff is

3    not aware of any public interest in the disclosure of these confidential terms.
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            7.       As a result, Plaintiff seeks to file under seal in full Exhibit A, and limited portions
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     of Exhibits B and C to her motion, as well as the limited portions of her motion that are redacted.
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            8.       I declare under penalty of perjury under the laws of the United States of America
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8    that the foregoing is true and accurate.

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     Executed this 3rd day of October 2022.
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12                                                          /s/ Matthew E. lee
                                                            Matthew E. Lee
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      DECLARATION OF MATTHEW E. LEE IN SUPPORT OF
      PLAINTIFF’S ADMINISTRATIVE MOTION TO SEAL                                        3:21-cv-01291-VC
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